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                            **NOT FOR PRINTED PUBLICATION**
                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION
SECURITIES AND EXCHANGE                         §
COMMISSION                                      §
                                                §
        Plaintiff,                              §       CIVIL ACTION No. 4:11CV655
                                                §
v.                                              §
                                                §       JUDGE RON CLARK
JAMES G. TEMME, and STEWARDSHIP                 §
FUND, LP                                        §
                                                §
        Defendants,                             §
                                                §
                                                §
                                                §
     ORDER HOLDING HP DEBT EXCHANGE, LLC AND CHRISTOPHER GANTER IN
                              CONTEMPT

       For the reasons stated on the record on July 1, 2013, the Court finds by clear and convincing

evidence that Respondents HP Debt Exchange, LLC and Christopher Ganter violated definite and

specific orders of the Court, namely Doc. #24 at ¶8, 25 at ¶9, and 30 at ¶9, of which they had

knowledge, by offering to sell, and selling, assets of the Receivership Estate for $450,000.

Accordingly, the Court finds Respondents HP Debt Exchange, LLC and Christopher Ganter in

contempt of Court. Respondents HP Debt Exchange, LLC and Christopher Ganter are therefore

ORDERED jointly and severally to pay four hundred and fifty thousand dollars ($450,000) into

the registry of the U.S. District Court for the Eastern District of Texas no later than 12 pm (noon)

CST on July 15, 2013.




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       Respondent Christopher Ganter is hereby further ORDERED to surrender his passport to the

Clerk of the Court for the Eastern District of Texas no later than 4 pm CST on July 3, 2013 , with

whom the passport will remain until Christopher Ganter purges his contempt.

       Respondents HP Debt Exchange, LLC and Christopher Ganter are ORDERED to appear

before this Court on Wednesday, July 17, 2013 at 9:30 am CST in Courtroom 2, Jack Brooks

Federal Building, 300 Willow Street, Beaumont, Texas 77701 to determine whether the parties have

purged themselves of contempt. The other parties to this action, the Securities and Exchange

Commission and Receiver Keith M. Aurzada, shall also appear.

       The Clerk of the Court shall mail a copy of this order by certified mail to Christopher Ganter

at the following address:

       Christopher Ganter
       2200 K Avenue STE 100
       Plano, Texas 75074

           So ORDERED and SIGNED this 1 day of July, 2013.




                                                        ___________________________________
                                                        Ron Clark, United States District Judge




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